                               UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION - DETROIT
IN THE MATTER OF:

       Derrick G. Rhynes                                                             CASE NO: 18-56402-lsg
       Brittney Rhynes                                                               CHAPTER: 13
                                                                                     JUDGE: Lisa S. Gretchko
            Debtor.
______________________________/

                           DEBTOR’S PROPOSED PLAN MODIFICATION #1

       NOW COME, Derrick Rhynes and Brittney Rhynes, by and through their attorneys, Frego & Associates
- The Bankruptcy Law Office, PLC, and in support of their Proposed Plan Modification #1, state as follows:

       1.      Debtors filed for relief under Chapter 13 on or about December 6, 2018.
       2.      Debtors’ plan was confirmed on or about August 3, 2019.
       3.      Pursuant to the Order Confirming Plan, Debtors are obligated to remit weekly plan payments of
               $190.05.
       4.      Debtors have a current delinquency of $3,689.76.
       5.      Debtors seek to be excused from their delinquency for the following reasons:
               a. Debtor Derrick G. Rhynes is the sole provider for his family and he was off of work from
                   late March, 2021-May, 2021 with no income. When he returned to work, he was unable to
                   immediately resume plan payments as he was behind with other necessary household
                   expenses such as rent, car payment and utilities. Debtor is still struggling to get caught up.
       6.      Effect of Proposed Plan Modification #1 on creditors:
               a. Class One:           No adverse impact and will continue to be paid pursuant to the plan;
               a. Class Two:           No adverse impact and will continue to be paid pursuant to the plan;
               b. Class Three:         No impact as there are no Class Three creditors;
               c. Class Four:          No impact as there are no Class Four creditors;
               d. Class Five:          No adverse impact and will continue to be paid pursuant to the plan;
               e. Class Six:           No impact as there are no Class Six creditors;
               f. Class Seven:         No adverse impact and will continue to be paid pursuant to the plan;
               g. Class Eight:         No impact as there are no Class Eight creditors;
               h. Class Nine:          Debtors were not required to provide a dividend based on the liquidation
                                       analysis. However, the creditors may have received funds if Debtors were
                                       not seeking to excuse their delinquency.
       7.      A plan calculation, worksheet and liquidation analysis are attached as Exhibit 6.

       Wherefore, Debtors requests this court grant their Proposed Plan Modification #1.

Dated: August 31, 2021                              /s/ Marla A. Skeltis
                                                     Frego & Associates - The Bankruptcy Law Office, PLC
                                                     Attorneys for Debtor
                                                     23843 Joy Rd.
                                                     Dearborn Heights, MI 48126
                                                     (313) 724-5088
                                                     fregolaw@aol.com
                                                     Marla A. Skeltis (P62141)


            18-56402-lsg   Doc 56     Filed 08/31/21     Entered 08/31/21 17:12:18        Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION - DETROIT
IN THE MATTER OF:

       Derrick G. Rhynes                                                           CASE NO: 18-56402-lsg
       Brittney Rhynes                                                             CHAPTER: 13
                                                                                   JUDGE: Lisa S. Gretchko
            Debtor.
______________________________/

                                       ORDER MODIFYING PLAN

       Debtors having filed a Post Confirmation Plan Modification #1, all interested parties having received
Notice, a Certificate of No Response having been filed and the Court being more fully advised;

       IT IS HEREBY ORDERED:

       1      Debtors are excused from plan payments in the amount of $3,689.76.




                                      PROPOSED ORDER, EXHIBIT 1




           18-56402-lsg    Doc 56     Filed 08/31/21    Entered 08/31/21 17:12:18        Page 2 of 3
                                  UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION - DETROIT
IN THE MATTER OF:

        Derrick G. Rhynes                                                                     CASE NO: 18-56402-lsg
        Brittney Rhynes                                                                       CHAPTER: 13
                                                                                              JUDGE: Lisa S. Gretchko
            Debtor.
______________________________/
             Notice of Deadline to Object to Proposed Chapter 13 Plan Modification #1

   The deadline to file an objection to the attached proposed chapter 13 plan modification is 21 days after service.

   If no timely responses are filed to a proposed post-confirmation plan modification, the proponent may file a certificate
of no response and request entry of an order approving the plan modification.

   If a timely objection is filed, the Court will set the matter for hearing and give notice of the hearing to the debtor, the
proponent of the plan modification, the trustee and any objecting parties. In that event, the plan modification will become
effective when the Court enters an order overruling or resolving all objections.

   Objections to the attached proposed chapter 13 plan modification shall be served on the following:


        FREGO & ASSOCIATES - THE BANKRUPTCY LAW OFFICE, PLC, 23843 JOY ROAD, DEARBORN
        HEIGHTS, MI 48127

        KRISPEN S. CARROLL 719 Griswold, 100 Dime Bldg, Detroit, MI. 48226

        Derrick G. Rhynes and Brittney Rhynes, 13110 Princeton St., Apt. 6, Taylor, MI48180


Dated: August 31, 2021                                     /s/ Marla A. Skeltis
                                                           Frego & Associates - The Bankruptcy Law Office, PLC
                                                           Attorneys for Debtor
                                                           23843 Joy Rd.
                                                           Dearborn Heights, MI 48127
                                                           313-724-5088
                                                           fregolaw@aol.com
                                                           Marla A. Skeltis (P62141)




           18-56402-lsg        Doc 56      Filed 08/31/21       Entered 08/31/21 17:12:18           Page 3 of 3
